Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 1 of 25




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                           CASE NO. 1:20-cv- 23391-GOODMAN
                                  [CONSENT CASE]

  ADT LLC and THE ADT
  SECURITY CORPORATION,

         Plaintiffs,

  v.

  VIVINT SMART HOME, INC. f/k/a
  Mosaic Acquisition Corp. and
  LEGACY VIVINT SMART HOME, INC.
  f/k/a Vivint Smart Home, Inc.,

        Defendants.
  ______________________________________/

             AMENDED 1 ORDER SPECIALLY SETTING CIVIL JURY TRIAL
             AND PRETRIAL SCHEDULE AND REQUIRING MEDIATION

         Trial is scheduled to commence on Monday, August 14, 2023 at 9:30 AM before

  Jonathan Goodman, United States Magistrate Judge, James Lawrence King Justice

  Building, 99 NE 4th Street, 11th Floor, Miami, Florida. The Court has reserved two (2)

  weeks for this trial.




  1      The Undersigned is amending the special set trial date and pretrial conference in
  response to an unopposed motion filed by Defendants due to a scheduling conflict. [ECF
  No. 101]. The Undersigned is also, sua sponte, extending the deadlines to select a mediator,
  complete mediation, submit the joint pretrial stipulation, and submit the proposed jury
  instructions and verdict form. All other pretrial deadlines will remain the same.
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 2 of 25




         IT IS ORDERED AND ADJUDGED as follows:

         l.     The pretrial conference is set for Wednesday, August 9, 2023 at 10:00 AM.

  Each party shall be represented at the pretrial conference and at the meeting required by

  Local Rule 16.1(d) by the attorney who will conduct the trial, except for good cause

  shown. Local Rule 16.1(c).

         2.     Counsel must meet at least 15 days before the pretrial conference date to

  confer on the preparation of a pretrial stipulation.

         3.     The original and one copy of a Joint Pretrial Stipulation must be filed on or

  before the date set forth below in the timetable. The stipulation shall conform to Local

  Rule 16.1(e) and include a joint, neutral summary of the claims and defenses in the case,

  not to exceed one short paragraph per claim, to be read as an introduction for voir dire

  examination. The Court will not accept unilateral pretrial stipulations, and will strike sua

  sponte any such submissions. Should any of the parties fail to cooperate in the preparation

  of the joint pretrial stipulation, all other parties shall file a certification with the Court

  stating the circumstances. Upon receipt of such certification, the Court shall issue an

  order requiring the non-cooperating party or parties to show cause why such party or

  parties (and their respective attorneys) have failed to comply with the Court’s order.

         4.     Proposed jury instructions and verdict form must be submitted at least

  ONE WEEK prior to the trial date. The parties shall submit a SINGLE JOINT set of

  proposed jury instructions and verdict form, though the parties need not agree on the
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 3 of 25




  proposed language of each or any instruction or question on the verdict form. Where the

  parties do agree on a proposed instruction or question, that instruction or question shall

  be set forth in Palatino Linotype 14 point typeface. Instructions and questions proposed

  only by Plaintiff to which Defendant(s) objects shall be italicized. Instructions and

  questions proposed only by Defendant(s) to which Plaintiff objects shall be bold-faced.

  Each jury instruction shall be typed on a separate sheet and must be supported by

  citations of authority. Each disputed jury instruction shall also state the basis for the

  objection(s) at the bottom of the sheet, before the citations of authority. In preparing their

  requested jury instructions, the parties shall utilize as a guide the Pattern Jury

  Instructions for Civil Cases approved by the United States Eleventh Circuit Court of

  Appeals, including the Directions to Counsel contained therein. A copy of the proposed

  jury instructions and verdict form shall be delivered to chambers at the time of filing,

  together with a flash drive containing the draft saved in Microsoft Word format.

         5.     All exhibits must be pre-marked. Plaintiff’s exhibits shall be marked with

  the letter “P” as a prefix and Defendant’s exhibits shall be marked with the letter “D” as

  a prefix. A typewritten exhibit list setting forth the number and description of each exhibit

  must be submitted at the time of trial. The parties shall submit the exhibit list on Form

  AO 187, which is available from the Clerk’s office.

         6.     A Motion for Continuance shall not stay the requirement for the filing of a

  Pretrial Stipulation and, unless an emergency situation arises, a motion for continuance
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 4 of 25




  will not be considered unless it is filed at least 20 days prior to the date on which the trial

  is scheduled to commence. Any party moving for a continuance of the trial date must

  include a signed acknowledgement from the client, confirming the client's awareness

  of, and agreement to, the requested trial continuance. This acknowledgement may be in

  fax or email form and may either be on the signature page of the motion or on a separate

  acknowledgement form, as an attachment to the motion. If the movant is a corporation,

  then the person signing the acknowledgement must be an authorized representative who

  is familiar with the litigation. In addition, if the motion is agreed to, unopposed, or a joint

  motion, then this same written acknowledgement is required for all parties. The Court

  will be flexible about the format and the precise language used, as long as the

  acknowledgment unequivocally reflects that the client agrees to the requested trial

  continuance. If multiple parties are involved, then signed acknowledgements from all

  parties are required. A continuance of the trial date will be granted only on a showing of

  compelling circumstances.

         7.     Non-compliance with any provision of this Order may subject the

  offending party to sanctions, including dismissal of claims or striking of defenses. It is

  the duty of all counsel to enforce the timetable set forth herein in order to ensure an

  expeditious resolution of this cause.

         8.     The following timetable shall govern the pretrial procedures in this case.

  This schedule shall not be modified absent compelling circumstances. All motions for an
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 5 of 25




  enlargement of time for discovery and relating to dispositive motions must include a

  statement as to whether the requested extension will affect the trial date or any other

  deadline set forth in this timetable.

        Days prior to
        Trial Date

        Passed                      Motions to join additional parties, amend pleadings,
                                    and certify class must be filed.

        12/30/2022                  All fact discovery must be completed. Per Local Rule
                                    26.1(f), written discovery requests and subpoenas
                                    seeking the production of documents must be served
                                    in sufficient time that the response is due on or before
                                    the discovery cutoff date. Depositions, including any
                                    non-party depositions, must be scheduled to occur on
                                    or before the discovery cutoff date. Failure by the party
                                    seeking discovery to comply with this paragraph
                                    obviates the need to respond or object to the discovery,
                                    appear at the deposition, or move for a protective
                                    order.

                                    Counsel may, by agreement, conduct discovery after
                                    the expiration of the discovery deadline, but should
                                    not rely on the Court to resolve any discovery disputes
                                    arising after the discovery cutoff date. In addition,
                                    counsel should not seek to extend any deadline,
                                    including summary judgment-related deadlines,
                                    based on post-deadline discovery pursuant to this
                                    provision.

        Note:                       In the event that there are any unresolved discovery
                                    motions pending 15 days prior to this date, the moving
                                    party shall immediately advise the Court of all such
                                    unresolved motions together with their status.

        Passed                      Parties shall furnish opposing counsel with a written
                                    list containing the names and addresses of all
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 6 of 25




                               witnesses including expert witnesses intended to be
                               called at trial and only those witnesses listed shall be
                               permitted to testify.

        Passed                 Parties shall furnish opposing counsel with a written
                               report from each expert intended to be called at trial.
                               Within the 21-day period following service of each
                               expert’s written report, the parties shall make their
                               experts available for deposition by opposing counsel.
                               The experts’ depositions may be conducted without
                               further order from the Court.

        Passed                 All initial expert discovery must be completed.

        Passed                 If a party elected to use experts and disclosed them,
                               then the opposing party shall furnish a written list
                               containing the names and addresses of any rebuttal
                               expert witnesses intended to be called at trial.

        Passed                 A party using any rebuttal expert witnesses shall
                               furnish opposing counsel with a written report from
                               each rebuttal expert intended to be called at trial.
                               Within the 14-day period following service of each
                               expert’s report, the party shall make its experts
                               available for deposition by opposing counsel. The
                               experts’ depositions may be conducted without further
                               order from the Court.

        Passed                 All rebuttal-expert discovery must be completed.

        Note:                  Only those expert witnesses whose identities and
                               reports have been timely disclosed according to the
                               deadlines established in this Order shall be permitted
                               to testify at trial or have affidavits submitted in
                               connection with motion practice.

        12/15/2022             All Daubert motions and motions in limine must be
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 7 of 25




                                     filed. 2 Each party may file only one motion in limine.
                                     That motion may include several issues, but only one
                                     motion is permitted absent further court order. That
                                     means the motion (with incorporated memorandum of
                                     law) may not exceed 20 pages, absent leave of Court,
                                     regardless of how many topics are raised in the in
                                     limine motion. 3

         1/15/2023                   All responses to Daubert motions and motions in
                                     limine must be filed. 4

         1/25/2023                   All replies to Daubert motions and motions in limine
                                     must be filed. If the moving party does not intend to
                                     file a reply, then they shall promptly notify chambers
                                     when the response is filed.

  2     The deadline for filing summary judgment motions has passed and the parties did
  not request a new summary judgment motions deadline. Therefore, this Scheduling
  Order does not include a summary judgment motions deadline.

  3       Counsel must comply with Local Rule 7.1 and confer with opposing counsel before
  filing in limine motions. There is no need to file a motion in limine on a topic on which
  the opposing party agrees, such as a motion in limine to prohibit Plaintiff’s counsel from
  mentioning the wealth of the defendant, a motion in limine to prohibit a “send-a-
  message” closing argument in a case not involving punitive damages, or a motion in
  limine to prohibit defense counsel from suggesting that insurance premiums might
  increase in the state if a large damages verdict were to be returned in plaintiff’s favor.
  These illustrative motions all involve issues on which most lawyers would agree most of
  the time. Thus, in the absence of an attorney taking an atypical position that the usually-
  prohibited topics are for some reason permitted in this specific case, a Local Rule 7.1
  conferral will establish that a motion in limine to prohibit what no one is seeking to do is
  unnecessary.

  4      The response and reply deadlines for summary judgment motions in the timetable
  assume that a party files a motion for summary judgment on the dispositive motion
  deadline. However, the parties are encouraged to file dispositive motions earlier and, in
  the event that a party files a motion for summary judgment or other dispositive motion
  before the timetable deadline and the Local Rules provide for earlier response and reply
  dates, then the earlier deadlines shall apply.
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 8 of 25




         4/14/2023                    Any party wishing to use a deposition as substantive
                                      evidence must so designate by line and page reference
                                      those portions in writing and the designations must be
                                      served on opposing counsel.

         4/24/2023                    The adverse party on whom depositions have been
                                      served to use as substantive evidence must file any
                                      objections to the designations, including “any other
                                      part which ought in fairness to be considered with the
                                      part introduced.” Fed. R. Civ. P. 32(a)(4).

         8/2/2023                     Joint Pretrial Stipulation must be filed. Failure to file a
                                      Joint Pretrial Stipulation on or before this day shall be
                                      grounds for dismissal.

         8/4/2023                     Proposed jury instructions and verdict form must be
                                      filed. Failure to timely file jury instructions and verdict
                                      forms as directed above shall be grounds for sanctions,
                                      including dismissal.

         9.     If the case is settled, then counsel are directed to inform the Court promptly

  at (305) 523-5720 and to file a notice of settlement within two days of calling chambers on

  CM/ECF. A stipulation for dismissal signed by all parties together with an appropriate

  Order of Dismissal, pursuant to Fed. R. Civ. P. 41(a)(1) must be filed on CM/ECF within

  15 days of filing the notice of settlement.

         10.    The parties may stipulate to extend the time to answer interrogatories,

  produce documents, and answer requests for admissions. The parties shall not file with

  the Court notices or motions memorializing any such stipulation unless the stipulation

  interferes with the time set for completing discovery, for hearing a motion, or for trial.

  Stipulations that would so interfere may be made only with the Court’s approval. See
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 9 of 25




  Fed. R. Civ. P. 29. This Order does not alter the parties’ obligations to meet and make

  initial disclosures under Fed. R. Civ. P. 26. The parties need not, however, file any

  proposed scheduling orders under Fed. R. Civ. P. 16.

         11.    Mediation Requirement. By no later than Friday, April 28, 2023, the parties

  shall select a mediator certified under Local Rule 16.2(b), shall schedule a time, date, and

  place for mediation, and shall jointly file a proposed order scheduling mediation. If the

  parties cannot agree on a mediator, then they shall notify the clerk in writing as soon as

  possible and the clerk shall designate a certified mediator on a blind rotation basis.

  Counsel for all parties shall familiarize themselves with and adhere to all provisions of

  Local Rule 16.2. The parties shall complete mediation by Wednesday, May 31, 2023. 5

                a.     All discussions made at the mediation conference shall be

  confidential and privileged.

                b.     The mediator shall be compensated in accordance with the standing

  order of the Court entered pursuant to Local Rule 16.2(b)(7), or as agreed to in writing by

  the parties and the mediator. The parties shall equally share the cost of mediation unless

  otherwise ordered by the Court. All payments shall be remitted to the mediator within

  30 days of the date of the bill. The parties shall notify the mediator of cancellation two




  5       In order to provide the Court with sufficient time to rule on any Daubert motions
  and motions in limine, the parties will schedule their mediation no earlier than six weeks
  after the final reply brief is filed on CM/ECF.
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 10 of 25




   full business days in advance. Failure to do so will result in the imposition of a one hour

   fee.

                 c.     Within five days following mediation, the mediator shall file a

   Mediation Report indicating whether the parties were present and/or recommending

   sanctions for non-attendance. The Report shall also state whether the case settled (in full

   or in part), whether mediation was continued with the parties’ consent, or whether the

   mediator declared an impasse.

                 d.     If mediation is not conducted, the case may be stricken from the trial

   calendar, and other sanctions may be imposed.

          12.    The parties shall follow the attached discovery procedures.

          13.    A Notice of Scheduling Conflict shall include a statement detailing the dates

   and the cases that were scheduled for trial. Under existing policies and agreements

   between the state and federal courts of Florida, the judge who enters the first written

   order scheduling a case for trial on a date set has priority over the service of the attorney

   for the date set. See Krasnow v. Navarro, 909 F.2d 451 (11th Cir. 1990).

          It shall be the duty of the attorneys herein to ensure that no other judge schedules

   them for a trial that impacts upon or conflicts with the date set forth above. If any counsel

   receives written notice of a trial from another judge, in either state or federal court, that

   in any way conflicts with this trial schedule, then it is the obligation of that attorney to
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 11 of 25




   notify that judge immediately so that the judge may reschedule his or her calendar, thus

   leaving counsel conflict free for this case.

          14.    Under-seal filings and the public access presumption

          Courts “have discretion to determine which portions of the record should be

   placed under seal, but [such] discretion is guided by the presumption of public access to

   judicial documents.” Perez-Guerrero v. U.S. Attorney Gen., 717 F.3d 1224, 1235 (11th Cir.

   2013). Public or judicial records are presumptively public, while documents which are

   not considered public or judicial records, such as discovery documents, are not. See F.T.C.

   v. AbbVie Prods. LLC, 713 F.3d 54 (11th Cir. 2013). “Judges deliberate in private but issue

   public decisions after public arguments based on public records. . . . Any step that

   withdraws an element of the judicial process from public view makes the ensuing

   decision look more like fiat and requires rigorous justification.” Perez-Guerrero, 717 F.3d

   at 1235 (internal quotation omitted). “Material filed in connection with any substantive

   pretrial motion . . . is subject to the common law right of access.” Romero v. Drummond

   Co., Inc., 480 F.3d 1234, 1246 (11th Cir. 2007) (citation omitted).

          Substantive pretrial motions require a showing of good cause to overcome the

   presumption of public access. See id.; Schojan v. Papa Johns Int’l, Inc., No. 8:14-cv-1218-T-

   33MAP, 2014 WL 4674340, at *12 (M.D. Fla. Sept. 18, 2014) (denying motion to seal motion

   for class certification despite the plaintiff’s assertions the motions and exhibits were

   subject to a confidentiality agreement). Likewise, any exhibits filed for consideration with
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 12 of 25




   a substantive motion are presumptively public. See AbbVie, 713 F.3d at 63 (finding that if

   a complaint is a judicial record, then it follows that the attached exhibits must also be

   treated as judicial records).

          The Court understands that some substantive motions and exhibits may

   sometimes contain confidential information that is inappropriate for public disclosure.

   But such information is not a reason to seal the motion or exhibits entirely, while

   submitting to the Court only the un-redacted versions. Thus, parties shall file their

   substantive motions and supporting exhibits on the public docket, redacting

   confidential information as identified by both parties and non-parties. No completely

   sealed filings are permitted. The parties are advised the Court will not enter an order on

   a substantive motion filed completely under seal. Any party submitting a motion or

   memorandum of law on a substantive matter involving confidential information worthy

   of under-seal status shall file two versions of the submission: a redacted one (filed on the

   public docket) and a sealed version (accompanied by a motion to seal, also filed on

   CM/ECF).

          Parties should be cautious and conservative about designating material as

   deserving of under-seal treatment in their redacted submissions, and the Undersigned

   may unseal some or all of the redacted portions if I determine that under-seal status is

   inappropriate. The mere fact that a party prefers that certain information not be publicly

   disclosed in connection with a substantive motion (e.g., it could be embarrassing or might
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 13 of 25




   portray the party in an unflattering way) does not mean that under-seal status is justified.

   Instead, there must be good cause, such as the existence of a bona fide trade secret or

   genuinely proprietary business information.

          15.    In addition to the Local Rules, any submission by any party must be double-

   spaced, and for every 5 pages provided for in the Local Rules the parties shall have an

   additional page (e.g., a 10-page motion may be 12 pages, a 20-page motion may be 24

   pages).

          DONE and ORDERED in Chambers, in Miami, Florida, on October 13, 2022.




   Copies furnished to:
   All Counsel of Record
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 14 of 25




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                          CASE NO. 1:20-cv- 23391-GOODMAN
                                 [CONSENT CASE]

   ADT LLC and THE ADT
   SECURITY CORPORATION,

         Plaintiffs,

   v.

   VIVINT SMART HOME, INC. f/k/a
   Mosaic Acquisition Corp. and
   LEGACY VIVINT SMART HOME, INC.
   f/k/a Vivint Smart Home, Inc.,

         Defendants.
   ______________________________________/



        MAGISTRATE JUDGE GOODMAN’S DISCOVERY PROCEDURES ORDER

         The following discovery procedures apply to all civil cases in which discovery is

   referred to United States Magistrate Judge Jonathan Goodman and where Judge

   Goodman is presiding over a case with full consent.

   OVERALL STATEMENT

         The Court designed these procedures to help the Parties and the Court work

   together to timely resolve discovery disputes without undue delay and unnecessary

   expense. The procedures are designed to (1) promote the timely internal resolution of

   discovery disputes by the parties themselves so that they have no need to seek judicial
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 15 of 25




   intervention, (2) help the parties obtain timely rulings to the extent they cannot on their

   own resolve their discovery disputes, (3) streamline the process of resolving discovery

   disputes by eliminating unnecessary motion practice, and (4) assist the Court by

   prohibiting the submission of motions and memoranda which are unnecessary, overly

   long or both.

   MEET AND CONFER

          Counsel must confer (in person or via telephone) and engage in reasonable

   compromise in a genuine effort to resolve their discovery disputes before filing a notice

   of a discovery hearing. In other words, there must be an actual conversation before a

   discovery hearing notice is filed. If counsel refuses to participate in a conversation, then

   the party seeking to a discovery hearing shall so state in the required certificate of

   conference and outline the efforts made to have a conversation.

          The Court may impose sanctions, monetary or otherwise, if it determines

   discovery is being improperly sought, is being withheld in bad faith or if a party fails to

   confer in good faith. Sending an email or telefax to opposing counsel with a demand that

   a discovery response or position be provided on the same day will rarely, if ever, be

   deemed a good faith effort to confer before filing a discovery hearing notice.
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 16 of 25




   DISCOVERY CALENDAR AND NO DISCOVERY MOTIONS

          No written discovery motions, including motions to compel, for protective order,

   or related motions for sanctions shall be filed unless specifically authorized by the Court. 6

   Similarly, the parties may not submit legal memoranda concerning a discovery hearing

   unless the Undersigned specifically authorizes it. This procedure is intended to minimize

   the need for discovery motions. The Court will strike any unauthorized discovery

   motions and memoranda.

          If, after conferring, the parties are unable to resolve their discovery disputes

   without Court intervention, then the Court holds a regular discovery calendar every

   Friday afternoon. The party seeking the discovery hearing shall contact Chambers at (305)

   523-5720 to place the matter on the next available discovery calendar. That party will be

   provided with available dates and will then confer with opposing counsel and confirm

   his or her availability for the discovery calendar. Once opposing counsel has confirmed

   availability, the party seeking the hearing will contact Chambers again to finalize the

   hearing date. [NOTE: The longer a party waits to contact Chambers to follow through

   after being provided with available times, the more likely it is that the hearing date will



   6       Nevertheless, if the parties wish to submit an agreed-upon discovery order, such
   as a standard confidentiality-type of protective order, then they shall (1) file a Notice of
   Proposed Stipulated Order with the proposed order attached to the notice and (2) submit
   a Word-version courtesy copy to the Undersigned’s CM/ECF mailbox
   (goodman@flsd.uscourts.gov). This Order does not prohibit that submission because
   there is not a discovery dispute; instead, there is an agreement about a discovery issue.
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 17 of 25




   no longer be available. Therefore, the Court encourages parties seeking discovery

   hearings to follow through on a timely basis and confirm the hearing date.].

          On the same day that Chambers confirms that the matter is being placed on the

   discovery calendar, the party seeking the discovery hearing shall provide notice to all

   relevant parties by filing a Notice of Hearing and serving a copy on opposing counsel

   through the Court’s electronic docketing system. The Notice of Hearing shall briefly and

   succinctly identify the substance of the discovery matter to be heard. (For example, “The

   Parties dispute the appropriate time frame for Plaintiff’s Interrogatory Nos. 1, 4-7, and

   10” or “The Parties disagree about whether Defendant produced an adequate 30(b)(6)

   witness on the topics listed in the notice.”) Ordinarily, no more than twenty (20) minutes

   per side will be permitted. The party scheduling the hearing shall include in this Notice

   of Hearing a certificate of good faith that complies with Southern District of Florida

   Local Rule 7.1(a)(3). The Court will strike hearing notices which do not include a

   sufficient local rule certificate.

          The party who scheduled the discovery hearing shall provide the Court a copy of

   all source materials relevant to the discovery dispute, via hand-delivery or through a

   document that is emailed to the CM/ECF mailbox (goodman@flsd.uscourts.gov) on the

   date that the Notice of Hearing is filed.       (For example, if the dispute concerns

   interrogatories, then the interrogatories at issue and the responses thereto, shall be

   provided.) Source material is the actual discovery at issue. Source material is not
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 18 of 25




   memoranda or letters to the Court which are, for all intents and purposes, a mini-brief.

   The opposing party may submit additional source material to the CM/ECF mailbox, as

   well.

           Neither the Notice of Hearing nor the source materials should be used as a de facto

   strategy to submit a memorandum. For example, sending multi-page, rhetoric-filled

   letters to the Court or filing argument-riddled notices are specifically prohibited. The

   Court will strike letters, notices, and exhibits which are designed to circumvent the no

   motion/no memoranda policy.

           If one or more of the parties believe in good faith that the discovery dispute is not

   a routine, garden-variety dispute and needs specialized attention, then the parties may

   include a to-the-point, no-more-than-one-paragraph explanation in the Notice of

   Hearing, to flag the specific issues. In addition, the parties may submit a “notice of

   authorities,” which will list only the authorities, but which will not contain argument or

   be a disguised memorandum. At most, the list of authorities may contain a one-sentence,

   objective summary of the relevant holding of each case or authority. The Court will strike

   any non-compliant notice of authorities.

           For those discovery disputes which are particularly complex (and there are not

   many of those) and which a party believes will require briefing, a motion for leave to file

   a discovery motion or memoranda may be filed. The motion should briefly explain the

   extraordinary need, but the actual discovery motion or memorandum should not be
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 19 of 25




   attached or filed unless the Court grants the motion seeking leave. The Court anticipates

   that the need for motions and/or memoranda will arise only rarely.

          The following topics are illustrations of discovery disputes which are usually not

   rare enough to bypass the standard no-motion policy and therefore would not ordinarily

   justify a motion for leave to file a discovery motion in a specific case absent extraordinary

   circumstances: (1) whether a party may take more than 10 depositions in the absence of

   consent; (2) whether a deposition may last more than 7 hours; (3) how a seven-hour

   deposition is allocated among the parties; (4) whether a 30(b)(6) witness was prepared to

   provide binding testimony on all the topics listed in the notice; (5) whether a noticed

   deposition is an "apex" deposition, and, if so, whether it will be permitted; (6) whether a

   party needs to arrange for a treating doctor to provide an expert witness report or if the

   party needs to make other written disclosures if the physician is expected to testify about

   the cause of an injury; (7) squabbles over the location of a deposition; (8) whether an

   attorney improperly instructed a deponent to not answer certain questions; (9) whether

   an attorney was improperly coaching a deponent; (10) whether a party or attorney may

   pay any money to a deponent or trial witness other than a standard witness fee, and, if

   so, under what circumstances and in what amounts; (11) whether a party may take "early"

   discovery; (12) whether a party exceeded the number of permissible interrogatories (and

   how should the sub-parts be counted); (13) whether an interrogatory answer is adequate

   or whether better answers are required; and (14) whether a party engaged in a
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 20 of 25




   strategically unfair "document dump" which makes it difficult for a party to know which

   documents are responsive to a request. These are all routine discovery disputes which

   require the submission of only the Notice of Hearing, source material and, at most, an

   argument-free list of authorities.

          The Court expects all parties to engage in reasonable compromise to facilitate the

   resolution of their discovery disputes. The Court may impose sanctions, monetary or

   otherwise, if the Court determines discovery is being improperly sought or is being

   withheld in bad faith.

          These procedures do not relieve parties from the requirements of any Federal

   Rules of Civil Procedure or Local Rules, except as noted above.

   PRE-HEARING DISCUSSIONS

          The mere fact that the Court has scheduled a discovery hearing/conference does

   not mean that the parties should no longer try to resolve the dispute. To the contrary,

   the parties are encouraged to continually pursue settlement of disputed discovery

   matters. If those efforts are successful, then counsel should contact Chambers as soon as

   practicable so that the hearing can be timely canceled. Alternatively, if the parties resolve

   some, but not all, of their issues before the hearing, then counsel shall also timely contact

   Chambers and provide notice about those issues which are no longer in dispute (so that

   the Court and its staff do not unnecessarily work on matters no longer in dispute).
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 21 of 25




   RULE 30(b)(6) DEPOSITIONS

          The party seeking to take the deposition shall include only a reasonable number

   of topics to be covered in a 7-hour deposition. Listing 40 or 50 (or more topics) is

   presumptively unreasonable. If the corporation or entity has any objections to the topics

   listed in the Rule 30(b)(6) notice, then its counsel shall first confer and try to resolve the

   dispute. But, if a complete resolution is not reached, then the party seeking to take the

   deposition shall notice the dispute for a hearing before the Undersigned (following the

   same procedures outlined above) and obtain a ruling on the disputed topics before the

   Rule 30(b)(6) deposition occurs.

          Counsel for the corporation or entity is not required to identify the designee or

   designees before the deposition begins, but he or she is certainly free to volunteer the

   information as a courtesy.

          It is permissible for a party to take the deposition of a person in his/her

   representative capacity as a corporate designee and also take a separate deposition of that

   person in his/her role as a fact witness. The attorney scheduling the depositions has the

   discretion to determine the order in which the two depositions occur. The attorney taking

   the depositions may take the fact witness deposition and the Rule 30(b)(6) deposition at

   the same time but shall clearly announce on the record when the deposition is changing

   into a different type of deposition.
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 22 of 25




   EXPENSES, INCLUDING ATTORNEY’S FEES

          The Court reminds the parties and counsel that Federal Rule of Civil Procedure

   37(a)(5) requires the Court to award expenses, including fees, unless an exception (such

   as the existence of a substantially justified, albeit losing, discovery position) applies to the

   discovery dispute and ruling.

   NO BOILERPLATE DISCOVERY OBJECTIONS

                       “Vague, Overly Broad and Unduly Burdensome”


          Parties shall not make conclusory boilerplate objections. Such objections do not

   comply with Local Rule 26.1(e)(2)(A), which provides that, “[w]here an objection is made

   to any interrogatory or sub-part thereof or to any production request under Federal Rule

   of Civil Procedure 34, the objection shall state with specificity all grounds.” Blanket,

   unsupported objections that a discovery request is “vague, overly broad, or unduly

   burdensome” are, by themselves, meaningless, and the Court will disregard such

   objections. A party objecting on these bases must explain the specific and particular ways

   in which a request is vague, overly broad, or unduly burdensome. See Fed. R. Civ. P.

   33(b)(4) (the ground for objecting to an interrogatory “must be stated with specificity”);

   Josephs v. Harris Corp., 677 F.2d 985, 992 (3d Cir. 1982) (“the mere statement by a party

   that the interrogatory was ‘overly broad, burdensome, oppressive and irrelevant’ is not

   adequate to voice a successful objection to an interrogatory.”). Testimony or evidence

   may be necessary to show that a particular request is in fact burdensome.
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 23 of 25




         “Irrelevant or Not Reasonably Calculated to Lead to Admissible Evidence”


          An objection that a discovery request is irrelevant or “not reasonably calculated to

   lead to admissible evidence” is an outdated type of objection, as that language no longer

   defines the scope of discovery under Federal Rule of Civil Procedure 26(b)(1). The current

   version defines the scope of discovery as being “nonprivileged matter that is relevant to

   any party’s claim or defense and proportional to the needs of the case” -- and then lists

   several factors to analyze. The Court reminds the parties that the Federal Rules provide

   that information within this scope of discovery “need not be admissible in evidence” to

   be discoverable. See Fed. R. Civ. P. 26(b)(1); S. D. Fla. L. R. 26.1(g)(3)(A); Oppenheimer

   Fund, Inc. v. Sanders, 437 U.S. 340, 351-52 (1978).


                                    No Formulaic Objections


          Parties should avoid reciting a formulaic objection followed by an answer to the

   request. It has become common practice for a party to object on the basis of any of the

   above reasons, and then state that “notwithstanding the above,” the party will respond

   to the discovery request, subject to or without waiving such objection. Such a boilerplate

   objection and answer preserves nothing, and constitutes only a waste of effort and the

   resources of both the parties and the Court. Further, such practice leaves the requesting

   party uncertain as to whether the responding party fully answered. Moreover, the

   Federal Rules of Civil Procedure now specifically prohibit that practice (which was
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 24 of 25




   deemed inappropriate by many judges and commentators). For example, Federal Rule of

   Civil Procedure 34(b)(2)(C) now provides that an objection to a request for documents

   “must state whether any responsive materials are being withheld on the basis of that

   objection.” In addition, it also says that “an objection to part of a request must specify the

   part and permit inspection of the rest.” Therefore, counsel should specifically state

   whether the responding party is fully answering or responding to a request and, if not,

   specifically identify the categories of information that have been withheld on an

   objection-by-objection basis.


                               Objections Based upon Privilege


          Generalized objections asserting attorney-client privilege or the work product

   doctrine also do not comply with the Local Rules. S. D. Fla. L. R. 26.1(e)(2)(B) requires

   that objections based upon privilege identify the specific nature of the privilege being

   asserted, as well as identify details such as the nature and subject matter of the

   communication at issue, the sender and receiver of the communication and their

   relationship to each other. Parties must review this Local Rule carefully, and refrain from

   objections in the form of: “Objection. This information is protected by attorney/client

   and/or work product privilege.” The Local Rule also requires the preparation of a

   privilege log except for “communications between a party and its counsel after
Case 1:20-cv-23391-JG Document 103 Entered on FLSD Docket 10/14/2022 Page 25 of 25




   commencement of the action and work product material created after commencement of

   the action.”

          DONE AND ORDERED in Chambers, in Miami, Florida, on October 13, 2022.




   Copies furnished to:
   All Counsel of Record
